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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                               Chapter -11
96 WYTHE ACQUISITION LLC,                            Case No.: 21-22108 (RDD)
                           Debtor.


     DEBTOR’S COUNTER REPORT AND RESPONSE TO EXAMINER REPORT



         PLEASE TAKE FURTHER NOTICE that the above-captioned debtor and debtor in

possession (the “Debtor”) hereby files the attached Counter Report (the “Counter Report”) and

Response To Examiner’s Report filed on even date, which Counter Report is attached hereto as

Exhibit 1.
       PLEASE TAKE FURTHER NOTICE that on February 28, 2022, the Debtor filed the

Omnibus (I) Objection to Examiner's Motion to Modify Aggregate Cap on Compensation and

Reimbursement of Examiner's Fees and Expenses; First Interim Application of Eric M. Huebscher

And Huebscher & Co. As Examiner; and First Interim Application of Locke Lord LLP, As

Examiner's Counsel; and (II) Cross-Motion To Enforce Fee Cap and Limit Examiner Fees;

Authorize Limited Discovery Against Examiner; Enforce Confidentiality; and for Related Relief

[Docket No. 417] (the “Omnibus Objection”).

       PLEASE TAKE FURTHER NOTICE that the Debtor filed under seal the Exhibit B to

the Omnibus Objection titled Counter Report and Response To Examiner’s Preliminary Draft

Report , which report is now unsealed.

       PLEASE TAKE FURTHER NOTICE that a copy of the Motion may be obtained by

visiting the Court’s website at http://www.nysb.uscourts.gov in accordance with the procedures

and fees set forth therein.

Dated: February 28, 2022                   MAYER BROWN LLP
       New York, New York
                                           /s/ Douglas Spelfogel
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                             EXHIBIT 1

Counter Report and Response To Examiner’s Preliminary Draft Report
